                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 IN RE: ROBERT W. & SUSAN M. GEDDES
                                                       Case Number: 09-68334 WSD
                                                       Chapter 13
 Debtor.                                               Judge SHAPERO

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 WILLIAM D. JOHNSON (P54823)
 ACCLAIM LEGAL SERVICES, P.L.L.C.
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                         CERTIFICATE OF NO RESPONSE

 A Motion Under LBR, Rule 9014-1 to Order Approving Fees Post-

 Confirmation, a proposed Order and a Notice to Parties in interest, was sent

 to all interested parties on March 30, 2015.

 Debtor=s counsel has not been notified by any party of any objection

 or response to the entry of the proposed Order.


 Respectfully submitted:



       /s/ William Johnson
 William Johnson (P54823)
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